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William R. Mitchell [SBN: 101858]
WILLIAM R. MITCHELL, INC.

101 Pacifica, Suite 155
Irvine, CA 92618
Telephone: (949) 679-6920
Facsimile: (949) 398-7300
Email: bill@wrmbizlaw.com

Attorneys for Defendants

AMERICAN FINANCIAL SUPPORT SERVICES, INC.,
US FINANCIAL FREEDOM CENTER, INC., and

JAY SINGH

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

FEDERAL TRADE COMMISSION,
Plaintiff,

VS.

AMERICAN FINANCIAL SUPPORT
SERVICES, INC., et al.,

Defendants.

 

 

Civil No. SACV 19-02109JVS (ADSx)

DEFENDANTS OPPOSITION TO ORDER
TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION WITH ASSET FREEZE,
APPOINTMENT OF TEMPORARY
RECEIVER, AND OTHER EQUITABLE
RELIEF SHOULD NOT ISSUE;
DECLARATION OF JAY SINGH

TO THE HONORABLE COURT AND PARTIES TO THIS MATTER:

Defendants, AMERICAN FINANCIAL SUPPORT SERVICES, INC. (“AFSS”), US
FINANCIAL FREEDOM CENTER, INC. (““USFFC”), and JAY SINGH (“SINGH”) collectively
referred to herein as “Defendants” hereby Respond to the Order to Show Cause Why a Preliminary
Injunction With Asset Freeze, Appointment of Temporary Receiver, And Other Equitable Relief
Should Not Issue as requested by Plaintiff FEDERAL TRADE COMMISSION’S (“FTC” of

“Plaintiff”.

 

DEFENDANTS OPPOSITION RESPONSE TO ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION WITH ASSET FREEZE, APPOINTMENT OF TEMPORARY RECEIVER, AND OTHER
EQUITABLE RELIEF SHOULD NOT ISSUE; DECLARATION OF JAY SINGH

 

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Specifically, Defendants oppose the request for preliminary injunction in part with respect to
the portion of the order to freeze assets, particularly as to SINGH. Defendants do not oppose the
appointment of the Receiver or the prohibition on business activities.

This Court issued a Temporary Restraining Order (“TRO”) on November 4, 2019. The TRO
was issued pursuant to Federal Rule of Civil Procedure (“FRCP”) 65(b) and Local Rule 7-19.2 and
with a waiver of the notice requirements set forth in the rules. Section III of the TRO concerns the
Asset Freeze which is hereby opposed. Section III places a freeze on all of Defendants’ assets that are
owned, controlled, directly or indirectly, by any Defendant, held in part, or in whole, or for the benefit
for any Defendant, in the actual or constructive possession of any Defendant, or owned or controlled
by, in the actual or constructive possession of, or otherwise held for the benefit of, any corporation,
and

“The Assets affected by this Section shall include: (1) all Assets of

Defendants as of the time this Order is entered; and (2) Assets obtained by

Defendants after this Order is entered if those Assets are derived from any activity

that is the subject of the Complaint in this matter or that is prohibited by this Order. ...”

Plaintiff has brought an application for permanent injunction over Defendants’ assets based
upon Section 13(b) of the Federal Trade Commission Act (“FTCA”), §15 U.S.C. §53(b). Defendants
do not contest the authority of the court to issue an injunction to restrain the conduct alleged to be in
violation of §5 of the FTCA, 15 U.S.C. §45(a). However, Defendant’s take issue with the authority of
the Court to include an order to freeze Defendants’ assets.

The Plaintiff's request for orders to freeze Defendants’ assets is based on Plaintiffs request for
remedies in the form of restitution, disgorgement of profits and damages. Based on the recent ruling
in FTC v. Credit Bureau Center, LLC, et al. Case Nos. 18-2847 & 18-3310 (7" Cir. 2019), the Seventh
Circuit held that section 13(b) of the FTCA, does not authorize an award of restitution -- “section
13(b)’s permanent-injunction provision does not authorize monetary relief.” In the decision the court
specifically addressed the distinction between the type of remedies available under section 13(b), which]
language provided for injunctive relief, and equitable remedies for past conduct-- “Section 13(b) serves

a different, forward-facing role: enjoining ongoing and imminent future violations.”

DEFENDANTS OPPOSITION RESPONSE TO ORDER TO SHOW CAUSE WHY PRELIMINARY
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EQUITABLE RELIEF SHOULD NOT ISSUE; DECLARATION OF JAY SINGH

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Further, Plaintiff has also brought this request for injunctive relief under 15 U.S.C. 57(b). The
remedies of restitution and/or damages are only available under 15 U.S.C. §57(b) with respect to those
knowing violations of 45(b) following a final cease and desist order issued by the Commission and
after notice of the final order as provided for in the Code. See 15 U.S.C. §57. Plaintiff did not proceed!
with the administrative remedies of a cease and desist order. Therefore, there is no remedy for
restitution or damages under that section upon which Plaintiff might prevail.

Based on the foregoing, Defendant’s oppose the request for preliminary injunction under
Section III of the Temporary Restraining Order entitled “ASSET FREEZE.”

This opposition to the request for preliminary injunction is based upon the Memorandum of
Points and Authorities and Declaration of Jay Singh filed concurrently herewith.

DATED: November 12, 2019 WILLIAM R. MITCHELL, INC.

William R. Mitchell

Attorneys for Defendants

AMERICAN FINANCIAL SUPPORT SERVICES,
INC., US FINANCIAL FREEDOM CENTER, INC.,
JAY SINGH

 

DEFENDANTS OPPOSITION RESPONSE TO ORDER TO SHOW CAUSE WHY PRELIMINARY
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MEMORANDUM OF POINTS AND AUTHORITIES

1. PRELIMINARY STATEMENT

On November 4, 2019, Plaintiff filed a complaint under seal and sought a no notice ex parte
Temporary Restraining Order which included an Asset Freeze over all Defendants (“TRO”). The TRO}
included an Order to Show Cause why the Preliminary Injunction Should Not Issue and set the matter
for hearing on November 18, 2019. The Order of this court set forth the basis for granting the TRO}
which included a finding of “good cause that Defendants engaged in and are likely to engage in acts on
practices that violate Section 5(a) of the FTC Act, 15 U.S.C. §45(a), and the FTC’s Telemarketing
Sales Rule (“TSR”), 16 C.F.R. pt. 310, and that Plaintiff is therefore likely to prevail on the merits of
this action.” (TRO at Findings of Fact (“FOF”) at C). The court also found that there is good cause to
believe that immediate and irreparable damage to the Court’s ability to grant effective relief for
consumers — including monetary restitution, rescission, disgorgement or refunds — will occur from the
sale, transfer, destruction or other disposition or concealment by Defendants of their assets or records,
unless Defendants are immediately restrained and enjoined by order of this Court ...Good cause exists
for appointing a temporary receiver over the Receivership Entities, freezing Defendants’ assets,
permitting the Receiver and the Plaintiff take immediate access to the Defendants’ business premises,
and permitting the Receiver and the Plaintiff to take expedited discovery.” (TRO at FOF E & F.)

Defendants AMERICAN FINANCIAL SUPPORT SERVICES, INC. (“AFSS”), US
FINANCIAL FREEDOM CENTER, INC. (“USFFC”), and JAY SINGH (“SINGH”) collectively
referred to herein as “Defendants” hereby oppose the portion of the TRO that places a freeze onl
Defendants assets. Defendants opposition to the freeze on assets follows the recent holding in FTC v.
Credit Bureau Center, LLC, et al. Case Nos. 18-2847 & 18-3310 (7" Cir. 2019) wherein the seventh
circuit court held that there was no legal authority to award restitution, damages, or disgorgement of
profits under Section 13(b) of the Federal Trade Commission Act (“FTCA”), §15 U.S.C. §53(b).
Defendants respectfully request this court to follow the decision of the seventh circuit court and to
conclude that there would be no authority to make an award of restitution and therefore no right to have

the Defendants assets frozen pending a final adjudication of the Complaint in this matter.

 

DEFENDANTS OPPOSITION RESPONSE TO ORDER TO SHOW CAUSE WHY PRELIMINARY
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Further, as to Defendant Jay Singh, as an individual, even if there were legal authority to
restitution by the corporate entities, an individual is only held personally liable where the corporation
is first held to be in violation of section 5 of the FTCA and then only if it can be proven that the
individual (1) participated directly in the deceptive practices or had authority to control those practices,
and (2) had or should have had knowledge of the deceptive practices. In this matter, Plaintiffs have
not provided proof of the requisite facts to impose individual liability. Further, Defendant Singh has
submitted his declaration in support of finding that he did not participate and did not have knowledge
of the alleged violations of Section 5(a). Therefore, as to Singh, the court must not issue the order to
freeze his personal assets.

2. STATEMENT OF FACTS

Plaintiff has set forth a Complaint for Permanent Injunction and Other Equitable Relief
against numerous defendants including the three Defendants, two corporate — AFSS and USFFC, and
one individual Defendant SINGH, who oppose only limited requests for permanent injunction in this
brief.

In the Complaint, Plaintiff alleges that Defendant AFSS and USFFC “advertised, marketed,
offered to provide, sold, or provided student loan debt relief services to consumers...” (Complaint
paragraphs 7 & 14)

Further, as to Defendant SINGH, the Complaint alleges that he “holds himself out as the
president, chief operating officer, and director of AFSS and USFFC ...has formulated, directed,
controlled, had authority to control, or participated in the acts and practices of AFSS and USFFC,
including the acts and practices set forth in this Complaint. For example, Mr. Singh has opened a
payment account using a Corporate Defendant’s email address, is the point of contact for USFFC’s
website registration, and has responded to consumer complaints lodged with the BBB.” (Complaint
at para. 20) These allegations are conclusory and boilerplate and show no participation in the alleged
violations of section 5 of the FTCA. There are no additional specific allegations of Singh’s
wrongdoing alleged in the Complaint.

Defendant SINGH has submitted a declaration in support of this opposition wherein he states

that he was not involved in the sales operation or in the servicing of the clients or processing the

 

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student loan consolidation applications and had no authority or control of either and did not have any
personal knowledge of the scheme of deceptive and fraudulent practices in violation of the FTCA as
alleged in the Complaint. There has been no evidence submitted in support of the ex parte
application as to his involvement in the alleged scheme that would hold him personally liable for the
acts of the corporation.

3. ARGUMENT AND AUTHORITY

Plaintiff has set forth the basis for the Complaint for permanent injunction and specifically a
request for an order freezing defendants’ assets as follows:

“71. Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), empowers this Court to grant injunctive
and such other relief as the Court may deem appropriate to halt and redress violations of any
provision of law enforced by the FTC. This Court, in the exercise of its equitable jurisdiction,
may award ancillary relief, including rescission or reformation of contracts, restitution, the
refund of monies paid, and the disgorgement of ill-gotten monies, to prevent and remedy any
violation of any provision of law enforced by the FTC.

72. Section 19 of the FTC Act, 15 U.S.C. § 57b, and Section 6(b) of the Telemarketing Act,
15 U.S.C. § 6105(b), authorize this Court to grant such relief as the Court finds necessary to
redress injury to consumers resulting from Defendants’ violations of the TSR, including the
rescission or reformation of contracts, and the refund of money.”

Recently in August 2019 the seventh circuit overturned a restitution award, overturning
precedent and on the grounds that the statute, specifically Section 13(b) of the FTCA, 15 U.S.C. §
53(b) does not authorize such an award. Plaintiff relies upon the same statute in their request for
permanent injunction and other relief, including an award of restitution, disgorgement of profits and
damages.

Defendants request this Court to join in the decision in FTC v. Credit Bureau Center, LLC, et
al. Case Nos. 18-2847 & 18-3310 (7" Cir. 2019) and find that the authority to issue the requested!
monetary relief, upon which the injunction to freeze assets is based, is not authorized by Section 13(b).

In reaching the conclusion that section 13(b) does not authorize the court to award restitution,
the seventh circuit court in FTC v. Credit Bureau Center, LLC set forth the reason for overruling the
circuit precedent as follows:

By its terms, section 13(b) authorizes only restraining orders and injunctions.
But the Commission has long viewed it as also authorizing awards of restitution. We

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endorsed that starkly atextual interpretation three decades ago in FTC v. Amy Travel
Service, Inc., 875 F.2d 564, 571 (7th Cir. 1989).

Since Amy Travel, the Supreme Court has clarified that courts must consider
whether an implied equitable remedy is compatible with a statute’s express remedial
scheme. See Meghrig c. KFC W, Inc. 516 U.S. 479, 487-88 (1996). And it has
specifically instructed us not to assume that a statute with ‘elaborate enforcement
provisions’ implicitly authorizes other remedies. Jd. at 487.

Applying Meghrig’s instructions, we conclude that section 13(b)’s grant of
authority to order injunctive relief does not implicitly authorize an award of restitution.
Every reason Meghrig gave for not finding an implied monetary remedy applies here.
Most notably, the FTCA has two detailed remedial provisions that expressly authorize
restitution if the Commission follows certain procedures. Our current reading of section
13(b) allows the Commission to circumvent these elaborate enforcement provisions and
seek restitution directly through an implied remedy.

Stare decisis cannot justify adherence to an approach that Supreme Court
precedent forecloses. Accordingly, we overrule Amy Travel and hold that section 13(b)
does not authorize restitutionary relief. [footnote omitted] Because the Commission
brought this case under section 13(b), we vacate the restitution award.

In the decision the court specifically addressed the distinction between what type of remedies
are available under section 13(b), which language provided for injunctive relief, and other non-stated
equitable remedies for past conduct. “Section 13(b) serves a different, forward-facing role: enjoining
ongoing and imminent future violations.” FTC v. Credit Bureau Center, LLC, supra.

Based on the forgoing, Defendants oppose the asset freeze orders. Such orders freezing
Defendants assets serves no purpose other than to preserve the assets for an award of restitution or
damage award. Defendants contend that there is no authority for restitution or damage award and
therefore no good cause for an order freezing Defendants’ assets.

Further, Plaintiff has also brought this request for injunctive relief under 15 U.S.C. 57(b). The
remedies of restitution and/or damages are only available under 15 U.S.C. §57(b) with respect to those
knowing violations of 45(b) following a final cease and desist order issued by the Commission and after
notice of the final order as provided for in the Code. See 15 U.S.C. §57. Plaintiff did not proceed with

the administrative remedies of a cease and desist order. Therefore, there is no remedy of restitution or

 

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damages under section 57(b) upon which Plaintiff might prevail and no good cause to issue an
injunction to freeze Defendants’ assets under section 57(b).
A. THERE IS NO INDIVIDUAL LIABILITY FOR DEFENDANT SINGH AND NO
AUTHORITY TO FREEZE HIS ASSETS
In FTC v. Ross 743 F.3d 886 (4" Cir. 2014) the court set forth the following standard
for individual liability:
“We hold that one may be found individually liable under the Federal Trade
Commission Act if she (1) participated directly in the deceptive practices or had
authority to control those practices, and (2) had or should have had knowledge of the
deceptive practices. The second prong of the analysis may be established by showing
that the individual had actual knowledge of the deceptive conduct, was recklessly
indifferent to its deceptiveness, or had an awareness of a high probability of
deceptiveness and intentionally avoided learning the truth.” FTC v. Ross, supra. at 8924
893.

As outlined in his Declaration, SINGH was not engaged in or had authority to control either
the sales and marketing or the servicing of the consumers. USFFC and AFSS both engaged Protel
Info Serve Pty. Ltd. (“Protel’’) to supervise and conduct sales and marketing. Protel would use its
discretion to select various call centers located in India to both generate leads and conduct the sales
operation. Protel would provide the approved sales script and monitor the recorded sales calls by the
various call centers. SINGH has provided the Receiver Thomas McNamara will a list of all call
centers utilized by Protel.

Upon a consumer expressing interest in the student loan program during the sales call, either
the call center or Protel would upload the consumer information into the 1File.org CRM, which
would generate the Service Agreement to be signed by the consumer. Upon execution, 1File.org
conducts the verification and sets up payments. All servicing of the consumer is conducted by
1File.org. See Decl. of J. Singh.

As outlined above, SINGH did not participate in or have the ability to control the generation

of leads or the sales operation. This was all conducted by the call centers under the supervision of

 

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Protel. As outlined in the Complaint and Plaintiffs Exhibits 1 through 22, the servicing of the student
loan program conducted was by 1File.org. Importantly, Plaintiff has alleged no facts or provided any
evidence to support that SINGH either participated in or had authority over sales or servicing of the
consumers.

The only knowledge SINGH had as to consumer complaints was responding to various
consumer complaints filed with the Better Business Bureau. Over the course of four years, he
reviewed and responded to approximately thirteen (13) complaints. In most cases, the responsible
entity provided a refund to the client. Based on the number and nature of the complaints, he was not
made aware of any deceptive practices. The complaints caused SIGNH to become aware of specific
sales or service issues, which he addressed with the relevant party (Protel or 1File.org). However, the
complaints represented a small number of the consumers who were engaged in the student loan
program and usually involved discrete services issues.

Based on the Declaration of SINGH, and the lack of evidence to support the requisite
participation and knowledge of the alleged deceptive practices, Plaintiff's request to have Defendant
SINGH’s assets frozen pending trial must be denied.

4. CONCLUSION

For all the reasons stated herein it is respectfully requested that the court deny Plaintiffs request
to include that portion of the TRO in section III entitled ASSET FREEZE in the preliminary injunction]
as requested by Plaintiffs as to Defendants AFSS, USFFC, and SINGH.

DATED: November 12, 2019 WILLIAM R. MITCHELL, INC.

By: LEC A

William R. Mitchell

Attorneys for Defendants

AMERICAN FINANCIAL SUPPORT SERVICES,
INC., US FINANCIAL FREEDOM CENTER, INC.,
JAY SINGH

 

DEFENDANTS OPPOSITION RESPONSE TO ORDER TO SHOW CAUSE WHY PRELIMINARY
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DECLARATION OF JAY SINGH
1, JAY SINGH do hereby state and declare as follows:
1. Lama resident of Danville, State of California. ] am over the age of eighteen years and
have personal knowledge of the matters set forth herein except as to those matters, I state

on information and belief and as to those matters, | believe them to be true.

i]

I have reviewed the Complaint for Permanent Injunction and Other Equitable Relief filed

by the Federal Trade Commission (“FTC”) which names me as an individual along with

various other individuals and corporate entities. | make this declaration in support of the
opposition to the request for a preliminary injunction against me.

3. The Complaint includes certain allegations in paragraph 20 of the Complaint which I
understand to be conclusory and not based on specific facts. The conclusions alleged at
paragraph 20 are in fact not true, except that I did establish a bank accounts for American
Financial Support Services, Inc. (“AFSS”) and US Financial Freedom Center, Inc.
(“USFFC”), I am the contact person for the website for USFFC and I did respond to
certain complaints filed with the Better Business Bureau (“BBB”).

4. I did not participate in the alleged scheme of deceptive and fraudulent business practices,

Specially, I did not participate in any manner with acts alleged in paragraphs 32, 33, 37,

38, 39, 42, 45, or 46 of the Complaint.

I did not have authority to control the alleged acts of others in the alleged scheme of

nA

deceptive and fraudulent business practices, specifically the acts of 1File.org,

6. USFFC and AFCC both engaged Protel Info Serve Pty. Ltd. (“Protel”) to supervise and
conduct sales and marketing for participation in student loan programs. Protel would use
its discretion to select various call centers located in India to both generate leads and
conduct the sales operation. Protel would provide the approved sales script and monitor
the recorded sales calls by the various call centers. | was not involved in the selection or
supervision of the call centers. I was not involved in the sales operation.

7. Upon a consumer expressing interest in the student loan program during the sales call,

either the designated call center or Protel would upload the consumer information into the

 

 

 

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1File.org CRM, which would generate the Service Agreement to be signed by the
consumer, Upon execution, 1File.org conducts the verification call with the consumer and
sets up payments. All servicing of the consumer is conducted by | File.org. Neither AFSS
nor USFFC participated in the servicing. I was not involved in any manner with the
servicing and had no authority to control the servicing.

8. I did not have knowledge of the alleged scheme of deceptive and fraudulent business
practices. Periodically, [ would receive consumer complaints filed with the Better
Business Bureau. Over the course of four years, [ reviewed and responded to
approximately thirteen (13) complaints. In most cases, the responsible entity provided a
refund to the client. Based on the number and nature of the complaints, I did not observe
any practice of deceptive practices. The complaints highlighted specific sales or service
issues, which I addressed with the relevant party (Protel or 1File.org). The complaints
represented a very small number of the consumers who were engaged in the student loan
program. Based on the small number of complaints and the specific nature of the
complaints, | was not alerted to any issue related to deceptive sales practice or a failure of

1File.org to provide appropriate and timely servicing of clients.

I declare the foregoing to be true and correct under penalty of perjury under the laws of the

United States.

Executed this 12th day of November 2019.

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DEFENDANTS OPPOSITION RESPONSE TO ORDER TO SHOW CAUSE WHY PRELIMINARY
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PROOF OF SERVICE
STATE OF CALIFORNIA )
)
COUNTY OF ORANGE )

I am over the age of 18 and not a party to the within action. My business address is 101 Pacifica,
Suite 155, Irvine, CA 92618. On the date below, I served the following document(s) described as:
DEFENDANTS OPPOSITION TO ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION WITH ASSET FREEZE, APPOINTMENT OF TEMPORARY RECEIVER, AND
OTHER EQUITABLE RELIEF SHOULD NOT ISSUE; DECLARATION OF JAY SINGH; AND
PROOF OF SERVICE on the interested parties to this action as follows:

FEDERAL TRADE COMMISSION FEDERAL TRADE COMMISSION
915 Second Avenue, Suite 2896 10990 Wilshire Boulevard, Suite 400
Seattle, WA 98174 Los Angeles, CA 90024

(206) 220-6350 (310) 824-4300

Attorneys for Defendants
FEDERAL TRADE COMMISSION

// By Federal Express. I deposited in a box or other facility regularly maintained by the Federal
Express carrier, or delivered to a courier or driver authorized by said express service carrier to
receive documents for delivery, the above-described documents, together with a copy of this proof
of service, in an envelope or package designated by the said express service carrier, with delivery
fees paid or provided for, and addressed as indicated above.

/X/ By Mail. I am “readily familiar’ with the firm’s practice of collection and processing
correspondence for mailing. Under that practice it would be deposited with the U. S. Postal
Service on that same day with postage thereon fully prepaid at Irvine, CA in the ordinary course
of business. I am aware that on motion of the party served, service is presumed invalid if postal
cancellation date or postage meter date is more than one day after date of deposit for mailing of
affidavit.

/ / By Electronic Mail. By transmitting true copies of the above named document(s) thereof by
electronic mail from shelby@wrmbizlaw.com to the following e-mail addresses located on the
service list.

/ / By Electronic Filing. I sent this document via electronic filing system (CM-ECF), to the
email addresses listed above.

/ / In Person. I personally delivered the documents to the attorney.

I declare under penalty of perjury under the laws of the State of California that the above is true
and correct.

Date: November 12, 2019 tat
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Pe Burt FO

 

 

 

 
